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               United States Court of Appeals
                                For the First Circuit
                                     _____________________

Nos. 15-1684, 15-1687, 15-1743


               JEANICE FARLEY, individually and on behalf of Michael Farley,
                                 an incompetent adult

                              Plaintiff Appellee/Cross-Appellant

             GEORGE FARLEY; JAMES FARLEY; KIMBERLY-RAE FARLEY

                                           Plaintiffs

                                               v.

                                       UNITED STATES

                             Defendant - Appellant/Cross-Appellee
                                    __________________

                                         JUDGMENT

                                 Entered: September 21, 2015
                                 Pursuant to 1st Cir. R. 27.0(d)

         Upon consideration of the parties' stipulation, it is hereby ordered that this appeal be
voluntarily dismissed pursuant to Fed. R. App. P. 42(b) with each party to bear its own costs.

       Mandate to issue forthwith.


                                                    By the Court:

                                                    /s/ Margaret Carter, Clerk


cc:
Lawrence Allen Vogelman
Jamal K. Alsaffar
Tom Jacob
Lowell Vernon Sturgill Jr.
Seth R. Aframe
